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                           IN THE UNITED STATES DISTRICT COU T
                            FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

   UNITED STATES OF AMERICA                    §
                                               §
   v.
                                               §         No. 4:1 SCR
                                               §         Judge C
   JOSEPH PATRICK MOSHER                       §
                                         INDICTMENT
 THE UNITED STATES GRAND JURY CHARGES:                                            NOV 1 5 2018
                                                                              Clerk, US. District Court
                                           Count One
                                                                                   Texas Eastern



                                                    Violation: 18 U.S.C. §§ 2251(a) and (e)
                                                    (Sexual Exploitation of Children and
                                                    Attempt)


            Between on or about August 8, 2018, and on or about September 26, 2018, in the

 Eastern District of Texas, Joseph Patrick Mosher, defendant, did knowingly employ,

 use, persuade, induce, entice, and coerce any minor under the age of eighteen to engage

 in sexually explicit conduct for the purpose of producing a visual depiction of such

conduct, and did attempt to employ, use, persuade, induce, and entice a minor to engage

in sexually explicit conduct for the purpose of producing a visual depiction of such

conduct, using materials that had been mailed, shipped, and transported in and affecting

interstate commerce by any means, including by computer. Specifically, the defendant,

Joseph Patrick Mosher, did employ, use, persuade, induce, entice, and coerce Victim 1,

a minor known to the Grand Jury, and did attempt to employ, use, persuade, induce,

entice, and coerce Victim 1 to engage in sexually explicit conduct for the purpose of
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 producing visual depictions of such conduct, using a concealed camera and a SanDisk

 micro SD card, and in so doing did produce the following visual depictions:

                 FILE NAME                                 DESCRIPTION
             TB STL 9-l-18.avi           A ten minute, eleven-second video depicting Victim
                                         1. The video begins with an adult male setting up
                                         and adjusting the camera in a bathroom before
                                         Victim 1 enters the room. The video then captures
                                         Victim Us penis as he urinates and as he exits the
                                         shower. Victim Us penis is the focus of the video.
                _UNP0002.avi             A ten minute, eleven-second video depicting Victim
                                         1. The video begins with an adult male setting up
                                         and adjusting the camera in a bathroom before
                                         Victim 1 enters the room. The video then captures
                                         Victim Us penis as he urinates, while erect in the
                                         shower, and as Victim 1 exits the shower. Victim
                                         Us penis is the focus of the video.

           In violation of 18 U.S.C. §§ 2251(a) and (e).


               NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

           Upon conviction of the offense(s) alleged in this Indictment, the defendant,

 Joseph Patrick Mosher, shall forfeit to the United States his interest in the following

 property, including, but not limited to:

           1. SanDisk 8GB micro SD Card.
           2. Lexar High Speed 64GB micro SD card.
           3. 2 Key Fob pinhole cameras, unknown manufacturer.
           4. Apple iPhone 7 cellular phone, bearing ICCID # 89014104271039994147.

           This property is forfeitable pursuant to 18 U.S.C. § 2253(a) based upon the

 property being:

           (1) any visual depiction described in section . . . 2252 of this chapter, or any
                  book, magazine, periodical, film, videotape, or other matter which contains

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                 any such visual depiction, which was produced, transported, mailed,
                 shipped or received in violation of this chapter;
          (2) any property, real or personal, constituting or traceable to gross profits or
                 other proceeds obtained from such offense; or
          (3) any property, real or personal, used or intended to be used to commit or to
                    promote the commission of such offense.


          By virtue of the commission of the offense alleged in this Indictment, any and all

 interest the defendant has in this property is vested in and forfeited to the United States

 pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3).

                                                    A TRUE BILL




 JOSEPH D. BROWN
 UNITED STATES ATTORNEY




 Assistant United States Attorney




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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

   UNITED STATES OF AMERICA                       §
                                                  §
   v.                                             §          No. 4:18CR
                                                  §          Judge
   JOSEPH PATRICK MOSHER                          §
                                     NOTICE OF PENALTY

                                            Count One

            Violation:           18U.S.C. §§ 2251(a) and (e)

            Penalty:             Imprisonment for not less than 15 years and not more than 30
                                 years; if the defendant has a prior conviction under this
                                 chapter, section 1591, chapter 71, chapter 109A, chapter 117,
                                 or under section 920 of title 10 (article 120 of the Uniform
                                 Code of Military Justice), or under the laws of any State
                                 relating to aggravated sexual abuse, sexual abuse, or abusive
                                 sexual conduct involving a minor or ward, or sex trafficking
                                 of children, or the production, possession, receipt, mailing,
                                 sale, distribution, shipment, or transportation of child
                                 pornography or sex trafficking of children, such person shall
                                 be imprisoned for not less than 25 years and not more than 50
                                 years; if the defendant has two or more convictions under this
                                 chapter, section 1591, chapter 71, chapter 109A, chapter 117,
                                 or under section 920 of title 10 (article 120 of the Uniform
                                 Code of Military Justice), or under the laws of any State
                                 relating to the sexual exploitation of children, such person
                                 shall be imprisoned for not less than 35 years and not more
                                 than life; a fine of not more than $250,000; and a term of
                                 supervised release of not less than five years to life.

            Special Assessment: $ 100.00




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